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                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

JERRY REANS and BARBARA REANS,

        Plaintiffs,

v.                                                                             No. 19-cv-0973 SMV/GBW

DON OPPLIGER d/b/a OPPLIGER FARMS,
OPPLIGER EQUIPMENT, LLC,
THE OPPLIGER COMPANIES LLC,
OPPLIGER FAMILY LTD., and STEPHEN NUTT,

        Defendants.1


                                 ORDER TO AMEND COMPLAINT

        THIS MATTER is before the Court on the parties’ Stipulation Concerning Party

Defendants [Doc. 49], filed on October 30, 2020. Plaintiffs must file a third amended complaint

to reflect the proper party Defendants no later than November 19, 2020.

        IT IS SO ORDERED.



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                                                                      STEPHAN M. VIDMAR
                                                                      United States Magistrate Judge
                                                                      Presiding by Consent




1
 It appears that Defendant Don Oppliger should be replaced with the Estate of Donald Lee Oppliger, [Docs. 37, 45],
and that Defendant Oppliger Companies, LLC, does not exist independently, [Docs. 44, 49].
